From:             Trina Realmuto
To:               Larakers, Mary L. (CIV); Seamon, Matthew (CIV); Iqbal, Aysha T. (CIV); Cappelletti, Daniel (CIV); Perez, Elianis
                  (CIV); Sauter, Mark (USAMA)
Cc:               Matt Adams; Kristin Macleod-Ball; Mary Kenney; hughesa@humanrightsfirst.org
Subject:          Potential Meet and Confer - DVD v DHS
Date:             Monday, March 31, 2025 4:10:00 PM
Attachments:      image002.png


Counsel,

A few hours ago, Secretary of State Rubio reposted a tweet from Nayib Bukele indicating
that 17 individuals were transferred from U.S custody to El Salvador. See
https://x.com/SecRubio. This followed a post from Secretary Rubio to similar effect on the
same platform (https://x.com/SecRubio/status/1906684174020284784). The State
Department has also posted an announcement on its website titled “More Foreign Gang
Terrorists Deported Out of America” (see https://www.state.gov/more-foreign-gang-
terrorists-deported-out-of-america/).

Were all of these 17 people Salvadoran nationals, and if not, can you please provide more
information, specifically whether any of them had final removal orders?

In addition, can you confirm that no one is currently being removed pursuant to the March
30, 2025 Guidance?

If any non-Salvadorans among the 17 individuals described in Secretary Rubio’s
statements had final removal orders, or if noncitizens are being subjected to removal under
the Guidance, that would violate the TRO, and we immediately request a meet and confer.

We look forward to hearing back from you soon.

Trina

               Trina Realmuto
               National Immigration Litigation Alliance
               617-819-4447 / trina@immigrationlitigation.org
               www.immigrationlitigation.org
               Facebook: NatlImmLitAlliance / LinkedIn




                                                                                                                    EXHIBIT K
From:           Larakers, Mary L. (CIV)
To:             matt@nwirp.org
Cc:             Trina Realmuto; Seamon, Matthew (CIV); Iqbal, Aysha T. (CIV); Cappelletti, Daniel (CIV); Perez, Elianis (CIV);
                Sauter, Mark (USAMA); Kristin Macleod-Ball; Mary Kenney; hughesa@humanrightsfirst.org
Subject:        RE: [EXTERNAL] Potential Meet and Confer - DVD v DHS
Date:           Wednesday, April 2, 2025 7:35:06 PM


Good evening Matt,

I have no information to share at this time.

Best,
Mary
